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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

 Bahia Amawi,                                       §
                               Plaintiff,           §
                                                    §
 v.                                                 §        Civil Action No. 1:18-CV-1091-RP
                                                    §
 Pflugerville Independent School District; and      §                  consolidated with:
 Ken Paxton, in his official capacity as            §
 Attorney General of Texas,                         §        Civil Action No. 1:18-CV-1100-RP
                               Defendants.          §

DEFENDANT KEN PAXTON, BOARD OF REGENTS OF THE UNIVERSITY OF HOUSTON SYSTEM,
 AND BOARD OF REGENTS OF THE TEXAS A&M UNIVERSITY SYSTEM’S NOTICE OF APPEAL

          Notice is hereby given that Defendants Ken Paxton, in his official capacity as Attorney

General of Texas, Defendant Board of Regents of the University of Houston System, and the Board

of Regents of the Texas A&M University System hereby appeal to the United States Court of Appeals

for the Fifth Circuit from the Court’s Order, (Doc. 82), entered on April 25, 2019.




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                                           Respectfully submitted.

                                           KEN PAXTON
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                                           /s/ Michael R. Abrams
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                                           University Defendants




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                                 CERTIFICATE OF SERVICE

        I certify that a true and correct copy of the foregoing document was served upon Plaintiffs’
 counsel of record through the Court’s electronic filing system on April 29, 2019.

                                                     /s/ Michael R. Abrams
                                                     MICHAEL R. ABRAMS




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